                                                                                      Case 8:15-cv-00688-CJC-DFM Document 1 Filed 04/30/15 Page 1 of 8 Page ID #:1


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                                                                                  5
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                                                                                  6 VERRAGIO, LTD
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                                                                                  9                         UNITED STATES DISTRICT COURT
                                                                                 10                       CENTRAL DISTRICT OF CALIFORNIA
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                                                                                 11 VERRAGIO, LTD                               )   Case No. 8:15-cv-00688
                                                                                                                                )
                                                                                 12               Plaintiff,                    )
                                                                                                                                )   COMPLAINT FOR COPYRIGHT
                                                                                 13
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                                                                                            v.                                  )   INFRINGEMENT; DEMAND FOR
                                                                                                                                )   TRIAL BY JURY
                                                                                 14 KIEU HANH JEWELRY,                          )
                                                                                                                                )
                                                                                 15              Defendant.                     )
                                                                                 16
                                                                                 17         Plaintiff Verragio, Ltd. (“Verragio”), by and through its attorneys, Tucker Ellis
                                                                                 18 LLP, files its complaint against Kieu Hanh Jewelry (“Defendant”) for injunctive relief
                                                                                 19 and damages as follows:
                                                                                 20                          Subject Matter Jurisdiction and Venue
                                                                                 21         1.    This case is a civil action arising under the Copyright Laws of the United
                                                                                 22 States, 17 U.S.C. §§ 101, et seq. This Court has subject matter jurisdiction over the
                                                                                 23 claims in this Complaint which relate to copyright infringement pursuant to 17 U.S.C.
                                                                                 24 § 501 and 28 U.S.C. §§ 1331 and 1338(a).
                                                                                 25         2.    Venue is proper in this court pursuant to 28 U.S.C. §§ 1391(b) and 1400(a).
                                                                                 26 The infringing products which are the subject of this litigation are and have been
                                                                                 27 distributed and offered for distribution in the Central District of California; the claims
                                                                                 28


                                                                                                   COMPLAINT FOR COPYRIGHT INFRINGEMENT; DEMAND FOR JURY TRIAL
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                                                                                  1 alleged in this action arose in the Central District of California; and, the Defendant
                                                                                  2 transacts business in the Central District of California.
                                                                                  3                              Parties and Personal Jurisdiction
                                                                                  4         3.    Verragio is a New York corporation with its principal place of business at
                                                                                         th        th
                                                                                  5 330 5 Avenue, 5 Floor, New York, NY 10001.
                                                                                  6         4.    Defendant Kieu Hanh Jewelry, upon information and belief, has its principal
                                                                                  7 place of business at 9131 Bolsa Avenue, Suite 203, Westminster, California 92683 This
                                                                                  8 Court has personal jurisdiction over Defendant because Defendant transacts business and
                                                                                  9 has other related activities within the Central District of California. Defendant regularly
                                                                                 10 does and solicits business and derives substantial revenue from doing business in this
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                                                                                 11 Judicial District.
                                                                                 12                                  The Business of Verragio
                                                                                 13         5.    Barry Nisguretsky (“Nisguretsky”) is the owner of Verragio.
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                                                                                 14         6.    For over 20 years, Nisguretsky has been an innovator in the design creation,
                                                                                 15 and marketing of fine jewelry. Nisguretsky designs his own jewelry and has created
                                                                                 16 exclusive collections from only top quality material.
                                                                                 17         7.    Among Nisguretsky’s jewelry designs are Insignia-7003, Insignia-7047 and
                                                                                 18 Venetian-5001R, each an original design comprising copyrightable subject matter under
                                                                                 19 the laws of the United States.
                                                                                 20         8.     At all relevant times, Nisguretsky complied in all respects with the
                                                                                 21 Copyright Act, 17 U.S.C. § 101, et seq., and secured the exclusive rights and privileges in
                                                                                 22 and to the copyrights in Insignia-7003 (VAu 996-688) and other pieces of jewelry..
                                                                                 23         9.    Nisguretsky has received a Certificate of Registration from the Register of
                                                                                 24 Copyrights for Insignia-7003 (VAu-996-688), a copy of which is attached to this
                                                                                 25 Complaint as Exhibit A.
                                                                                 26         10.   Nisguretsky has exclusively licensed his copyrighted jewelry designs to
                                                                                 27 Verragio. Copies of some of the copyrighted jewelry designs licensed by Nisguretsky to
                                                                                 28 Verragio is attached to this Complaint as Exhibit B.
                                                                                                                                  2
                                                                                                   COMPLAINT FOR COPYRIGHT INFRINGEMENT; DEMAND FOR JURY TRIAL
                                                                                      Case 8:15-cv-00688-CJC-DFM Document 1 Filed 04/30/15 Page 3 of 8 Page ID #:3


                                                                                  1         11.   Since its creation, Insignia-7003 and the licensed copyrighted jewelry
                                                                                  2 designs have been manufactured by Verragio, or under its authority.
                                                                                  3                       The Business of Defendant Kim International
                                                                                  4         12.   Verragio is informed and believes, and on that basis alleges, that Defendant
                                                                                  5 is a retailer of jewelry and is in the business of marketing and selling fine jewelry to
                                                                                  6 consumers within this Judicial District, and specifically markets its jewelry within this
                                                                                  7 Judicial District.
                                                                                  8         13.   Verragio is informed and believes, and on that basis alleges, that Defendant
                                                                                  9 operates its jewelry business in direct competition with Verragio’s jewelry business.
                                                                                 10         14.   Verragio is informed and believes, and on that basis alleges, that Defendant
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                                                                                 11 sells its jewelry to, and actively solicits and seeks as customers, the same consumers as
                                                                                 12 Verragio.
                                                                                 13         15.   Verragio has not authorized Defendant to copy, reproduce, manufacture,
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                                                                                 14 duplicate, disseminate, or distribute jewelry with a design that is substantially similar to
                                                                                 15 the copyrighted jewelry designs of Insignia-7003 or any other copyrighted ring design
                                                                                 16 licensed to Verragio.
                                                                                 17         16.   In violation of federal copyright law, Verragio is informed and believes, and
                                                                                 18 on that basis alleges, that Defendant has engaged in the advertisement, manufacture,
                                                                                 19 distribution, duplication and/or sale of jewelry with designs that are substantially similar
                                                                                 20 to the copyrighted jewelry designs of Insignia-7003 and other copyrighted ring designs
                                                                                 21 licensed to Verragio.
                                                                                 22         17.   Currently, Defendant is advertising, distributing and selling jewelry that is
                                                                                 23 substantially similar to the copyrighted jewelry designs of Insignia-7003 and other
                                                                                 24 copyrighted ring designs licensed to Verragio.
                                                                                 25                                    First Cause of Action
                                                                                 26                                   (Copyright Infringement)
                                                                                 27         18.   Verragio realleges and incorporates by reference each of the allegations
                                                                                 28 contained in Paragraphs 1 through 17 of this Complaint as though fully set forth.
                                                                                                                                  3
                                                                                                   COMPLAINT FOR COPYRIGHT INFRINGEMENT; DEMAND FOR JURY TRIAL
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                                                                                  1           19.   On January 29, 2015, Defendant sold the following ring: Romance Halo
                                                                                  2 Semi-Mount setting in 14k gold; size 5 ½. The product code for this ring is 117490-100.
                                                                                  3 The Invoice number is 17209. A copy of this invoice is attached to this Complaint as
                                                                                  4 Exhibit C.
                                                                                  5           20.   A comparison of the ring sold by Defendant to the copyrighted jewelry
                                                                                  6 design of Insignia-7003 follows:
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                                                                                 15
                                                                                 16                        Insignia -7003                Infringing Ring 117490-1001
                                                                                 17
                                                                                 18           21.   Defendant’s acts constitute infringement of Verragio’s licensed copyright in
                                                                                 19 Insignia-7003 in violation of the Copyright Act, 17 U.S.C. § 101, et seq.
                                                                                 20       22. Verragio is informed and believes that Defendant’s distribution, duplication
                                                                                 21 and/or sale of infringing copies of Insignia-7003 was deliberate, willful, malicious,
                                                                                 22 oppressive, and without regard to Verragio’s proprietary rights.
                                                                                 23           23.   Defendant’s copyright infringement has caused, and will continue to cause
                                                                                 24 Verragio to suffer substantial injuries, loss, and damage to its proprietary and exclusive
                                                                                 25 rights to the copyright in Insignia-7003 and further, has damaged Verragio’s business
                                                                                 26 reputation and goodwill, diverted its trade and caused loss of profits, all in an amount not
                                                                                 27
                                                                                      1 The
                                                                                          ring sold by Defendant is virtually identical to this photograph, but without the
                                                                                 28 center diamond.
                                                                                                                                   4
                                                                                                     COMPLAINT FOR COPYRIGHT INFRINGEMENT; DEMAND FOR JURY TRIAL
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                                                                                  1 yet determined. In addition, Verragio is entitled to receive the profits made by Defendant
                                                                                  2 from its wrongful acts pursuant to 17 U.S.C. § 504. Alternatively, Verragio is entitled to
                                                                                  3 recover statutory damages, on election by Verragio, in an amount of up to $150,000 for
                                                                                  4 each copyrighted work sold, offered for sale or distributed.
                                                                                  5         24.   Defendant’s copyright infringement, and the threat of continuing
                                                                                  6 infringement has caused, and will continue to cause Verragio repeated and irreparable
                                                                                  7 injury. It would be difficult to ascertain the amount of money damages that would afford
                                                                                  8 Verragio adequate relief at law for Defendant’s acts and continuing acts. Verragio’s
                                                                                  9 remedy at law is not adequate to compensate it for the injuries already inflicted and
                                                                                 10 further threatened by Defendant.          Therefore, Verragio is entitled to temporary,
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                                                                                 11 preliminary and permanent injunctive relief pursuant to 17 U.S.C. § 502, and to an order
                                                                                 12 under 17 U.S.C. § 503 and 28 U.S.C. § 1651(a) that the infringing copies of Insignia-
                                                                                 13 7003, and all molds by which such infringing copies were produced, be seized,
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                                                                                 14 impounded and destroyed.
                                                                                 15         25.   Verragio is also entitled to recover its attorneys’ fees and costs of suit
                                                                                 16 pursuant to 17 U.S.C. § 505.
                                                                                 17                                       Prayer for Relief
                                                                                 18         Therefore, Verragio respectfully requests judgment as follows:
                                                                                 19         1.    That the Court enter a judgment against Defendant that Defendant has
                                                                                 20 infringed the rights of Verragio in Verragio’s federally registered copyrights under 17
                                                                                 21 U.S.C. § 501.
                                                                                 22         2.    That each of the above acts were willful.
                                                                                 23         3.    That the Court issue a Temporary Restraining Order and Preliminary
                                                                                 24 Injunction enjoining and restraining Defendant and its respective agents, servants,
                                                                                 25 employees, successors and assigns, and all other persons acting in concert with or in
                                                                                 26 conspiracy with or affiliated with Defendant, from:
                                                                                 27               (a)    manufacturing, producing, selling, distributing, destroying, altering, or
                                                                                 28                      otherwise disposing of any jewelry that is in the possession of
                                                                                                                                  5
                                                                                                    COMPLAINT FOR COPYRIGHT INFRINGEMENT; DEMAND FOR JURY TRIAL
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                                                                                  1                     Defendant that is substantially similar to Insignia-7003 or any other
                                                                                  2                     copyrighted ring design licensed to Verragio;
                                                                                  3               (b)   destroying any documents, electronic files, wax models, molds,
                                                                                  4                     business records, or any other tangible object pertaining to the
                                                                                  5                     copying, reproduction, manufacture, duplication, distribution, or
                                                                                  6                     advertisement of any such jewelry; and,
                                                                                  7               (c)   engaging in any other activity constituting an infringement of any of
                                                                                  8                     Verragio’s licensed copyrighted jewelry designs.
                                                                                  9         4.    That Verragio be awarded damages for Defendant’s copyright infringement
                                                                                 10 either: (i) actual damages in an amount to be determined at trial, together with
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                                                                                 11 Defendant’s profits derived from its unlawful infringement of Verragio’s copyrights; or
                                                                                 12 (ii) statutory damages for each act of infringement in an amount provided by law, as set
                                                                                 13 forth in 17 U.S.C. § 504, at Verragio’s election before the entry of final judgment,
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                                                                                 14 together with prejudgment and post-judgment interest.
                                                                                 15         5.    That the Court issue a Permanent Injunction enjoining and restraining
                                                                                 16 Defendant and its respective agents, servants, employees, successors and assigns, and all
                                                                                 17 other persons acting in concert with or in conspiracy with or affiliated with Defendant,
                                                                                 18 from copying, reproducing, manufacturing, duplicating, disseminating, distributing, or
                                                                                 19 using infringing copies of Verragio’s licensed copyrighted jewelry designs.
                                                                                 20         6.    That the Court issue an Order at the conclusion of the present matter that all
                                                                                 21 infringing copies of jewelry, and all molds by which such infringing jewelry was
                                                                                 22 produced, be seized, impounded and destroyed.
                                                                                 23         7.    That the Court award Verragio its reasonable attorneys’ fees pursuant to 15
                                                                                 24 U.S.C. § 1117, and any other applicable provision of law.
                                                                                 25         8.    That the Court award Verragio its costs of suit incurred herein.
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                                                                                                   COMPLAINT FOR COPYRIGHT INFRINGEMENT; DEMAND FOR JURY TRIAL
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                                                                                 1          9.    That Verragio be awarded such other relief as may be appropriate, including
                                                                                 2 costs of corrective advertising.
                                                                                 3
                                                                                 4 DATED:        April 30, 2015                 Tucker Ellis LLP
                                                                                 5
                                                                                 6                                              By:   /s/Howard A. Kroll
                                                                                 7                                                    Howard A Kroll
                                                                                                                                      Attorneys for Plaintiff
                                                                                 8                                                    VERRAGIO, LTD
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                                                                                                   COMPLAINT FOR COPYRIGHT INFRINGEMENT; DEMAND FOR JURY TRIAL
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                                                                                 1                                DEMAND FOR TRIAL BY JURY
                                                                                 2
                                                                                 3            Plaintiff Verragio, Ltd. hereby demands a trial by jury to decide all issues so triable
                                                                                 4 in this case.
                                                                                 5
                                                                                 6 DATED: April 30, 2015                             Tucker Ellis LLP
                                                                                 7
                                                                                 8                                                   By:    /s/Howard A. Kroll
                                                                                 9                                                          Howard A Kroll
                                                                                                                                            Attorneys for Plaintiff
                                                                                 10                                                         VERRAGIO, LTD
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                                                                                                     COMPLAINT FOR COPYRIGHT INFRINGEMENT; DEMAND FOR JURY TRIAL

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